                       Case 4:17-cr-00016-BMM Document 180 Filed 09/27/17 Page 1 of 7
                                                                                                                             FILED
AD 2458 (Rev. Ilfl6)   Judgment in a Criminal Case                                                                             SEP 27 2017
                       Sheet 1
                                                                                                                           Clelk, u,g Disliid Couil
                                                                                                                              District Of Montana
                                         UNITED STATES DISTRICT COURT                                                             Great Falls

                                                                District of Montana
                                                                           )
              UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMI;'IIAL CASE
                                  v.                                       )
                                                                           )
                   MARTY JON KROMINGA                                             Case Number: CR 17-16-GF-BMM-03
                                                                           )
                                                                           )      USM Number: 16762-046
                                                                           )
                                                                           )       E. June Lord
                                                                           )
THE DEFENDANT:
Ii'! pleaded guilty to eount(s)        3 or the Indictment

o pleaded nolo contendere to eount(s)                                                                                    - - _...............................   _----­
   which was accepted by the coun.
o was found guilty on couot(s)          ~~~~~~~~~~~-                                 .......................- - - .
   after a plea of not guilty.

The defendant is adjudicated gUilty of these offenses:

Title & Section                   Nature of Offen,e                                                                   Offense Ended
 18 U.S,C, § 922(g)(1)             Felon in Possession of Firearms/Armed Career Criminal                               9/212015                            3




       The defendant is sent£nced as provided in pages 2 through          _--,--7_ _ of this judgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
Ii'! Count( s) --'-1=--'-4_ _ _ _ _ _ _ _ _ 0 is                   Ii1 are dismissed on the motion of the United States,
         It Is ordered that the defendant must notify tbe United States attorney for this district ",,;thin 30 days ofany change of'name, residence;
or mailing address until all finest restitution. costs. and special assessments imposed by this judgment are tul1y paid, If ordered to pay restitution,
                                                                                         in
the defendant must notify tbe court and United States attomey of material changes economIc circulnstaIlces.




                                                                          Brian M(jrri",lJliiled States District Judge
                                                                         Name and Title of Judge


                                                                          9/2712017
                                                                         -;:".:.=~---------- ..---..-..-.... ~~
                                                                         na.,
                      Case 4:17-cr-00016-BMM Document 180 Filed 09/27/17 Page 2 of 7
AO 2458 {Rev. 11116) ludgment in Criminal Cllse
                       Sbeet 2
                                                                                                       Judgment   Page         of
 DEFENDAI'T: MARTY JON KROMINGA
 CASE NUMBER: CR 17·16·GF·BMM·03

                                                              IMPRISONMENT
            The defendant is hereby commiued to the custody of the Federal Bureau ofPrisons to he imprisoned for a total
 term of:

  28 months, concurrently to the terms imposed in Hill County DC 13-139; Cascade County CDC 15-465; and Missoula County
  DC 32-2015-564-IN.



     Ii'1 The court makes the following recommendations to the Bureau of Prisons;
  Defendant shall receive credit for 184 days of custody;
  Placement in the RDAP Program if eligible;
  Placement at FCI Oxford, Wisconsin or FCI Pekin, Illinois or facility with apprenticeship program in plumbing or electrical.

     (;z] The defendant is remanded to the custody oflhe United States Marshal.

     D      The defendant shall surrender to the United States Marshal for this district:

            D at       .................... _____ D a.m.         D p.m.       on

            D as notified by the United States MarshaL

    o       The defendant shaH surrender for service of sentence at the institution designated by the Bureau of Prisons:

            C before 2 p.m. 011
            C   as notified by the United States Marshal.

            C   as notitied by the Probation or Pretrial Services Office.



                                                                    RETURN
I bave executed lhis judgmenl as follows:




         Defendant delivered on                                                             to

a .........._ _ _ _ _ _ _ _ _ _ _ _ _ _ ' with a certified copy of this judgment




                                                                            By _ _ _ _~~~~=~~~~                            . . . . . . . . . . . . . . ___
                                                                                                 DEPUTY UNITED STATES MARSHAL
                      Case 4:17-cr-00016-BMM Document 180 Filed 09/27/17 Page 3 of 7
AO 245B (Rc¥, 11/16) Judgment in a Criminal Case
                     Sheet 3 ~ Supervised Release
                                                                                                          )udgment~-Page ~ of               7
DEFENDANT: MARTY JON KROMINGA
CASE NUMBER: CR 17-16-GF-BMM-03
                                                        SUPERVISED RELEASE
Upon releas.e from imprisomncnt, you will be on supervised release for a tern) of:
 2 years

                                                    MANDATORY CONDITIONS
1.      You must not commit another federal J state or local crime.
2,      You must not unlawfully possess acontrolJed substance.
3.      You must refrain from any unlawful usc ofa controlled s.ubstance. You must suhmjt to one drug test witbin 15 days of release from
        imprisonment and at )cast two periodic drug tests thereafter, as determined by the court
               o    The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. {check ifapp/{cabiej
4.       Lt1 You must cooperate in the collection of DNA as directed by the probation officcr. (checkifapplicabie)
5,       0 You must comply with the requirements of the Sex Offender Registration ane Notification Act (42 U,S,c' § 1690 I, et seq) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work; arc a student. or were convicted of a qualifying offense, (check ifapplicable)
6.       0 You must participate in an approved program for domestic violence. (check if appJjcable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page,
                       Case 4:17-cr-00016-BMM Document 180 Filed 09/27/17 Page 4 of 7

AO 245B (Rev I !!16)    Judgmcn.1 in. a Crim:nal Case
                        Sheet 3A ~ Supervised Release
                                                                                                                 _---"4'---_ of           7
DEFENDANT: MARTY JON KROMINGA
CASE NUMBER: CR 17-16-GF-BMM-03

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervisl,jd release, you must comply with the foHowing standard conditions of supervjsion. These conditions are imposed
because they e~tablish the basic expectations for your behavior while on supervision and identity the minimum tools needed by probation
officers to keep informed, report 10 the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federaJjudicial district where you are authorized to reside within 72 hours. of your
       release from imprisorunent, unless the probation officer instructs you to report to a different probation office or within a different lime
       frame,
2.     After initially reporting to the probation office, you will receive instructions frorn the court Or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting pcnnis!)ton from the:
       comi or lhe probation officer.
4.     You must answer truthfully the ques.tions asked by your probation officer.
S.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your livlng
       arrangements (such as the people you live with), you must notifY the probation officer at leas! 10 days before the change. r; notifying
       the probation officer in advance is not possible due to unanticipated circumstanccs, you must notify the probation officer within 12
       hours ofbeeoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or els.ewhere, and you must permit the probation o1Iiccr to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7,     You must work full time (at least 30 hours per week) at a lawful type ofemployment, unless the probarion officer excuses you from
       doing so. If you do not have full-time employment you must try to find fuH*time employment, unless the probation officer excuses
       you from doing so. lfyou plan to change where you work or an)1hing about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation oftieer at least 10
       days in advance is not possible due to unanticipated circwnstances, you must notify the probation omcer within 12 hours of
       becoming aware of a change or expected change.
8.     You must not corrununicate or interact with someone you know is engaged in criminal activity, If you know someone has been
       convicted ora felony, you must not knowingly communicate or interact with that person without first getting the pennission of the
       probation omcer.
9.     If you are arrested or qt1estioned by a law enforcement officer. you must notify thc probation officer within 72 hours.
10.    You must not own, possess) or have access to a tlrearm. ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the speeific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
t J.   You must not act or make any agreement with a law enforcement agency to act as a confidential human s.ource or informant without
       first getting the permission of the court.
12.    If the probation officcr dctennines that you pose a risk to another person (including an organization), the probation o!'ficer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to tbe conditions of supervision,



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified hy the eourt and has provided me with a \.vritten copy of thIs
judgment containing these conditions, For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditio1JS, available at: www.uscourts,gov.


Defendant's Signature                                                                                     Date
                      Case 4:17-cr-00016-BMM Document 180 Filed 09/27/17 Page 5 of 7
AO 245B(Rev. lliI6)    Judgment in a Criminal Case
                                             Release


DEFENDANT: MARTY JON KROMINGA
CASE NUMBER: CR 17-16-GF-BMM-03

                                         SPECIAL CONDITIONS OF SUPERVISIO:"Ii



 1. The defendant shall submit his person, residence, vehicles, and papers, to a search, with or without a warrant by any
 probation officer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
 submit to search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
 subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
 examination.

 2. The defendant shall participate in and successfully complete a program of substance abuse treatment as approved by
 the United States Probation Office, until the defendant is released from the program by the probation office. The defendant
 is to pay part or all of the cost of this treatment, as directed by the United States Probation Office.

 3. The defendant shall abstain from the consumption of alcohOl and shall not enter establishments where alcohol is the
 primary item of sale.

 4. The defendant shall participate in substance abuse testing, to include not more than 104 urinalysis tests. no! more than
 104 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
 defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

 5. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana
 and/or synthetic stimulants that are not manufactured for human consumption, for the purpose of altering his mental or
 physical state.

 6. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
 marijuana card or prescription.
                       Case 4:17-cr-00016-BMM Document 180 Filed 09/27/17 Page 6 of 7
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                                 Judgment   Page _ _6_.__   of      7
 DEFENDANT: MARTY JON KROMINGA
 CASE NUMBER: CR 17-16-GF-BMM-03
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6


                     Assessment                    JVTA Assessment*                     Fine                           Restitution
 TOTALS            $ 100.00                      $ N/A                               $ WAIVED                        $ N/A


 D    The determination of restitution is deferred until                        • An Amended Judgment in a Criminal Case (A0245C) will bc entered
      after such determination.                          ---­

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment coluum below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims muSl be paid
      before the United States is pald.

 Name of Payee                                 Total Loss"''''                         Restitution Ordered                       Priority or Percentage




TOTALS                               $                                              s_ __

 D     Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may he subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D   the interest requirement is waived for the            D       fine   D   restitution.

       D   the interest requirement for the        D     fine        0     restitution is modified as follows:

• Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and Il3A ofTitlc 18 for otlcnses committed on or
aftcr Septcmber 13, 1994, but before April 23, 1996.
                         Case 4:17-cr-00016-BMM Document 180 Filed 09/27/17 Page 7 of 7
AO 2<:'SB {Rev. ! U!O}   JudgmenL m It Crimmal Case
                         SLeet 6   S.:hedule of Payments
                                                                                                                        Judgment .. - Page     7       of           7
 DEFENDANT: MARTY JON KROMINGA
 CASE NUMBER: CR 17-16-GF-BMM-03

                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability tu pay, payment of the total criminal monetary penalties is due as follows:

 A     0     Lump sum payrnent of S _ _ _ _ _ _ _ due immediately, balance due

             o      not later than                                         , or
             o      in accordance           D C,        D D.         D E, Or           D F below; or

 B     D Payment to begin immediately (may be combined with                         DC,          D D, or        II F below!: or

 c     0     Payment ill equal        _ _ _._M_ (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                              (e.g., months or years)~ to commence _ _ _ _ ~ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D     Payment in equal         ____.,            (e.g" weekly, monthly, quarterly) installments of S                                     over a period of
                              (e.g.. montks or years), to commence                       (e.g., 30 or 60 days) ---re'···;I·e···a·-se-;;fro-m-c-im-prisonment to a
             term of supervision; or

 E     [J    Payment dming the tenll of supervised release will commence within                     (e.g, 30 or (if) days) after release from
             imprisonment. The court will set the pa:YTIlcnt plan based On an assessment of the defendant's ability to pay at that time: or

 F     ~     Special instructions regarding the paymcnt ofcriminal monetary penalties:

              Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
              payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
              the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments shall be made 10
              the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great
              Falls, MT 59404, **Assessment Marty Jon Krominga**.
 Unless the court has expressly ordered othef'Nisc, ifthJS judvnent imposes imprisonment, payment ofcriminal monetary penalties is due during
 the penod of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program.• are made to the clerk of the court.                            '-"

 The defendant shall receive credit for all payments previously made mward any criminal monetary penalties unposed.




 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, loint and Several Amount,
       and corresponding payee, if appropriate,




 LJ The defendant shall pay the cost of prosecution.
 D     The defendant shall pay the following court COSt(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restiMion principal, (3) restitution interest, (4) fme principal, (5) fine
interest, (6) conunumty restitution, (7) JVTA assessment, (8) penalties, and (9) costs, mcludtng co!::.t of prosecution and court costs. .
